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7                          UNITED STATES DISTRICT COURT
8                         CENTRAL DISTRICT OF CALIFORNIA
9     UNITED STATES OF AMERICA,      )
10                                   )
                     Plaintiff,      )
11                                   )             CASE NO. 2:24-CR-00091-ODW
12    v.                             )
                                     )
13    ALEXANDER SMIRNOV,             )
14                                   )
                     Defendant,      )             ORDER
15    _______________________________)
16
            Upon reviewing Defendant’s Emergency Ex Parte Motion for
17

18    Reconsideration regarding request for Medical Furlough for the Next 30 Days
19
      pursuant to 18 U.S.C. § 3142(i), and having given careful reconsideration to the
20
      Court’s earlier determination, said Motion is again DENIED.
21

22          IT IS SO ORDERED.
23
            Dated: March 26, 2024
24

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26                                    __ __________________________________
                                      Honorable Otis D. Wright II
27
                                      United States District Judge
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